                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                  CRIMINAL NO. 3:01CR85-4


UNITED STATES OF AMERICA                       )
                                               )
                                               )
               VS.                             )                ORDER
                                               )
                                               )
JASON SHERRARD JOHNSON                         )
                                               )


       THIS MATTER is before the Court sua sponte to continue the supervised release

violation hearing scheduled for Wednesday, August 10, 2005, in Statesville.

       The Court has been advised that this Defendant has been charged in a new indictment,

United States v. Johnson, et al., Criminal No. 3:05cr62; therefore, in the interest of judicial

economy, the Court finds that the hearing in this case should be continued until after Defendant’s

plea or trial on the charges contained in the new indictment.

       IT IS, THEREFORE, ORDERED that the hearing on Defendant’s supervised release

violation is hereby CONTINUED. The Clerk is requested not to reschedule this matter until

such time as the new charges have been resolved.




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                         Signed: July 28, 2005




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